       Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 1 of 60


                                                                                 Apr 21 2020
                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


 FEDERAL DEPOSIT INSURANCE
 CORPORATION, AS RECEIVER FOR
 FIRST NBC BANK,                                  Civil Action No. ____20-cv-1253 S(4)_____

 Plaintiff,
                                                  Jury Trial Demanded
 vs.

 ASHTON J. RYAN, JR., WILLIAM D.
 AARON, JR., WILLIAM CARROUCHE,
 HERMANN MOYSE, III, GRISH ROY
 PANDIT, STEPHEN PETAGNA, R.
 MICHAEL WILKINSON, ZURICH
 AMERICAN INSURANCE COMPANY,
 ILLINOIS NATIONAL INSURANCE
 COMPANY, CONTINENTAL CASUALTY
 COMPANY, GREAT AMERICAN E&S
 INSURANCE COMPANY, FEDERAL
 INSURANCE COMPANY, U.S.
 SPECIALTY INSURANCE COMPANY, XL
 SPECIALTY INSURANCE COMPANY,
 FREEDOM SPECIALTY INSURANCE
 COMPANY, MARKEL AMERICAN
 INSURANCE COMPANY, and
 BERKSHIRE HATHAWAY SPECIALTY
 INSURANCE COMPANY,

 Defendants.


         COMPLAINT FOR RECOVERY OF DAMAGES – FILED UNDER SEAL

        Plaintiff Federal Deposit Insurance Corporation, as Receiver for First NBC Bank (“FDIC-

R”), hereby states its complaint against the Defendants as follows:

                                   NATURE OF THE CASE

        1.     On April 28, 2017, the Louisiana Department of Financial Institutions (“LOFI”)

closed First NBC Bank (“First NBC” or the “Bank”) and appointed the FDIC-R Receiver.
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 2 of 60




       2.      The FDIC-R brings this action in its capacity as Receiver seeking to recover over

$164 million in losses the Bank suffered on dozens of loans which the individual Defendants,

through at least gross negligence, caused the Bank to make to financially distressed borrowers.

       3.      The FDIC-R is entitled to recover from Defendant Ashton J. Ryan Jr. (“Ryan”), the

Bank’s former Board Chairman, President, and Chief Executive Officer (“CEO”), damages of at

least $113 million for his gross negligence and breaches of fiduciary duty in abusing his

Incremental Lending Authority (“ILA”). Ryan recklessly deployed his ILA to approve scores of

improper credit extensions to at least eight different borrower relationships (the “ILA Loans”).

       4.      The FDIC-R also is entitled to recover damages of at least $51 million from Ryan

and six non-officer directors who, like Ryan, were members of the Bank’s Board Loan Committee

(“BLC”)—Defendants William D. Aaron, Jr. (“Aaron”), William Carrouche (“Carrouche”),

Hermann Moyse, III (“Moyse”), Grish Roy Pandit (“Pandit”), Stephen Petagna (“Petagna”), and

R. Michael Wilkinson (“Wilkinson”) (the “Non-Officer BLC Defendants,” and, together with

Ryan, the “BLC Defendants”)—for their gross negligence in approving other credit extensions to

at least five borrower relationships (the “Director Loans”). Collectively, the ILA Loans and

Director Loans are referred to as the “Loss Loans.”

       5.      As detailed below, among other breaches of duty, the BLC Defendants recklessly

disregarded, and acted with carelessness amounting to indifference to, the best interests of the

Bank by subjecting the Bank to extremely unsafe and unsound lending practices and corresponding

financial risks. Specifically, the BLC Defendants repeatedly violated the Bank’s loan policy and

federal banking regulations; failed to adequately inform themselves of relevant risks; and

otherwise flagrantly departed from prudent lending standards when they approved obviously risky

and deficiently underwritten loans.



FILED UNDER SEAL                                2
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 3 of 60




       6.        The magnitude of the BLC Defendants’ misconduct and corresponding liability to

the FDIC-R is underscored by the numerous and diverse ways in which they committed gross

negligence and in which Ryan breached his fiduciary duties to the Bank. As detailed below, the

eight borrower relationships to which the Bank extended the loans this complaint addresses—

denoted here as RM, GG, KC, TH, AP, PCC, MP, and GSA for privacy reasons until a protective

order is in place—involved a diverse group of separate borrowers in different loan lines (for

example, oil and gas; commercial and industrial; acquisition, development, and construction; and

commercial real estate). Among other differences, the loan purposes, collateral, and specifics of

loan policy violations and other gross departures from prudent lending standards varied from

borrower to borrower. Yet as to each borrower, Ryan (with respect to the ILA Loans) and the BLC

Defendants (with respect to the Director Loans) engaged in conduct that substantially deviated

below the standard of care expected to be maintained by a reasonably careful person under like

circumstances.

       7.        In addition to recovery from the BLC Defendants, the FDIC-R is entitled to recover

the losses described in this complaint directly from ten insurance companies (the “Insurer

Defendants”). The Insurer Defendants provided director-and-officer (“D&O”) liability insurance

to the BLC Defendants during the relevant time period. Accordingly, the Insurer Defendants’

liability is derivative of the BLC Defendants’ liability. Though the damages the BLC Defendants

inflicted on the Bank exceed the aggregate limits of the Insurer Defendants’ insurance policies,

those policies cover the losses arising from each of the FDIC-R’s claims.




FILED UNDER SEAL                                 3
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 4 of 60




                                         THE PARTIES

A.     The FDIC-R

       8.      The FDIC is a corporation and instrumentality of the United States of America

established under the Federal Deposit Insurance Act, 12 U.S.C. § 1811 et seq., which is charged

with, among other things, the orderly liquidation of failed banks. 12 U.S.C. § 1821(d).

       9.      Pursuant to 12 U.S.C. §§ 1821(d)(2)(A) and 1823(d)(3)(A), upon its appointment

as Receiver the FDIC-R succeeded to all rights, titles, powers, privileges, and assets of First NBC,

including its rights and claims against the Bank’s former directors and officers and their liability

insurers.

B.     The BLC Defendants

       10.     Ryan was First NBC’s Chairman, President, and CEO, and a member of both the

BLC and the Senior Loan Committee (“SLC”) from 2006 until he was removed as CEO on

December 1, 2016. Thereafter, he continued as Chairman, President, and BLC and SLC member

until he resigned on April 6, 2017. As discussed below, Ryan committed wrongful acts both in his

capacity as a Bank director and as a Bank officer.

       11.     Aaron was a Bank director and BLC member from 2006 and the Bank’s General

Counsel from December 2016 until the Bank failed.

       12.     Carrouche was a Bank director and BLC member from 2006 until the Bank failed.

       13.     Moyse was a Bank director and BLC member from 2006 and interim CEO from

December 2016 until the Bank failed.

       14.     Pandit was a Bank director and BLC member from 2006 until the Bank failed.

       15.     Petagna was a Bank director and BLC member from 2006 until the Bank failed.

       16.     Wilkinson was a Bank director and BLC member from 2006 until the Bank failed.



FILED UNDER SEAL                                 4
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 5 of 60




C.     The Insurer Defendants

       17.     Defendant Zurich American Insurance Company (“Zurich”) is a corporation that

was, during the relevant period, an admitted insurer authorized to do and doing business in

Louisiana. It issued a $15 million primary D&O liability insurance policy (plus $1 million in

excess coverage available in certain circumstances) that covers losses arising from claims alleged

in this complaint.

       18.     Defendant Illinois National Insurance Company (“INIC”) is a corporation that was,

during the relevant period, an admitted insurer authorized to do and doing business in Louisiana.

It issued three excess D&O liability insurance policies, in the amounts of $15 million, $10 million,

and $5 million, that cover losses arising from claims alleged in this complaint.

       19.     Defendant Continental Casualty Company (“Continental”) is a corporation that

was, during the relevant period, an admitted insurer authorized to do and doing business in

Louisiana. It issued a $10 million excess D&O liability insurance policy that covers losses arising

from claims alleged in this complaint.

       20.     Defendant Great American E&S Insurance Company (“Great American”) is a

corporation that was, during the relevant period, an approved surplus lines insurer doing business

in Louisiana. It issued a $10 million excess D&O liability insurance policy that covers losses

arising from claims alleged in this complaint.

       21.     Federal Insurance Company (“Federal”) is a corporation that was, during the

relevant period, an admitted insurer authorized to do and doing business in Louisiana. It issued a

$10 million excess D&O liability insurance policy that covers losses arising from claims alleged

in this complaint.




FILED UNDER SEAL                                 5
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 6 of 60




       22.     U.S. Specialty Insurance Company (“U.S. Specialty”) is a corporation that was,

during the relevant period, an admitted insurer authorized to do and doing business in Louisiana.

It issued a $10 million primary D&O liability insurance policy and a $5 million excess D&O

liability insurance policy that cover losses arising from claims alleged in this complaint.

       23.     XL Specialty Insurance Company (“XL”) is a corporation that was, during the

relevant period, an admitted insurer authorized to do and doing business in Louisiana. It issued a

$10 million excess D&O liability insurance policy that covers losses arising from claims alleged

in this complaint.

       24.     Freedom Specialty Insurance Company (“Freedom”) is a corporation that was,

during the relevant period, an admitted insurer authorized to do and doing business in Louisiana.

It issued a $10 million excess D&O liability insurance policy that covers losses arising from claims

alleged in this complaint.

       25.     Markel American Insurance Company (“Markel”) is a corporation that was, during

the relevant period, an admitted insurer authorized to do and doing business in Louisiana. It issued

a $5 million excess D&O liability insurance policy that covers losses arising from claims alleged

in this complaint.

       26.     Berkshire Hathaway Specialty Insurance Company (“Berkshire”) is a corporation

that was, during the relevant period, an admitted insurer authorized to do and doing business in

Louisiana. It issued a $5 million excess D&O liability insurance policy that covers losses arising

from claims alleged in this complaint.

                                 JURISDICTION AND VENUE

       27.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1345,

made applicable through 12 U.S.C. §§ 1819(b)(1), 1819(b)(2)(A), and 1821(d).



FILED UNDER SEAL                                 6
        Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 7 of 60




        28.    The Court has personal jurisdiction over the Defendants because at all relevant

times each BLC Defendant was a resident of Louisiana and/or conducted the business of the Bank

in Louisiana and each Insurer Defendant was an admitted insurer authorized to do and doing

business in Louisiana or an approved surplus lines insurer doing business in Louisiana that issued

one or more policies of liability insurance in Louisiana insuring the Bank and its officers and

directors.

        29.    Venue is proper pursuant to 28 U.S.C. § 1391(b) as a substantial part of the events

and omissions giving rise to the FDIC-R’s claims occurred in this judicial district and at least one

Defendant resides in this district.

                                      FACTUAL BACKGROUND

        30.    First NBC was a state-chartered bank (not a member of the Federal Reserve

System) headquartered in New Orleans, Louisiana, which opened on May 19, 2006.

        31.    During all relevant times, the Bank was wholly owned by First NBC Bank Holding

Company (“FNBC”), a publicly traded single-bank holding company also based in New Orleans.

        32.    Between 2007 and 2016, First NBC grew rapidly and eventually operated thirty-

five branches in South Louisiana and five branches in the Florida Panhandle. Bank assets grew

from $374 million to $4.19 billion.

        33.    The BLC Defendants’ reckless lending ultimately led to a significant increase in

First NBC’s classified assets (loans for which payment is not made in a timely manner). The

Bank’s classified assets continued to climb to $707 million through April 13, 2017, which

significantly eroded the Bank’s capital to the point that it became insolvent and was closed by

LOFI.




FILED UNDER SEAL                                 7
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 8 of 60




A.     The Bank’s Lending Operation and Loan Policy

       34.     Loan underwriting practices are the primary determinant of bank credit risk and

bank credit availability and one of the most critical aspects of loan portfolio management. Loan

underwriting standards define the bank’s desired level of creditworthiness for individual loans and

provide uniform criteria for evaluating loans with similar characteristics. Underwriting standards

also are important in protecting the bank’s capital, which can erode from unsafe and unsound

lending practices.

       35.     Underwriting practices (which are described in Parts 364 and 365 of the FDIC

Rules and Regulations) generally can be characterized by the criteria used to qualify borrowers,

loan pricing, repayment terms, sources of repayment, and collateral requirements. Underwriting

practices also encompass the management and administration of the portfolio, including its growth,

concentrations in specific markets, out-of-area lending, written lending policies, and adherence to

written underwriting policies.

       36.     The foremost means to control loan quality and ensure a good loan portfolio is the

loan approval process. An effective loan approval process establishes minimum requirements for

the information and analysis upon which a credit decision is based. The purpose of a loan approval

process is to provide controls to ensure acceptable credit at origination.

       37.     The First NBC Board of Directors (“Board”), including the BLC Defendants,

recognized that adherence to the Bank’s Board-approved set of loan policies (the “Loan Policy”)

was needed to “ensure uniform, appropriate, credit quality for the institution” because “sound loans

[were] paramount to the financial success of the bank.”

       38.     Among other requirements, during the relevant time period, the Loan Policy

required a complete loan package before approval, which was to include the Bank’s standard credit



FILED UNDER SEAL                                  8
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 9 of 60




memorandum, pricing model, current financial statements, and other documentation to establish

the financial condition of borrowers and guarantors, including detailed income, cashflow/debt

service ability, verified liquidity, leverage, collateral, and contingent liabilities information. The

Loan Policy also specified maximum loan-to-value (“LTV”) ratios and terms for real estate lending

and required market value real estate appraisals by qualified independent appraisers, unless

exempted. Loans were not to be made based solely on the value of pledged collateral.

       39.     The Loan Policy discouraged making certain loans (deemed undesirable) if (1)

financial information did not support the credit; (2) the payment schedule was ill-defined; (3) the

loan was for various sorts of speculative projects, including speculative construction and

development projects; and/or (4) the project was outside the Bank’s recognized trade area.

       40.     The Loan Policy also limited the authority of bank officials to approve loans based

on the Bank’s aggregate exposure to the borrower seeking the loan.

               (a) Ryan. According to the Loan Policy, Ryan generally could approve loans by

himself only when, accounting for the loan under consideration, the Bank’s aggregate exposure to

the borrower relationship would be no more than $7.5 million. In addition, Ryan could use his ILA

to extend up to $1 million in credit “for existing customers that are performing as agreed,” if the

borrower was risk rated 5 (“marginally acceptable/watch”) or better and “appropriate financial

statements” existed in the file. Ryan could use his ILA only for “emergency credit” and only once

per customer relationship until SLC or BLC review. The Bank’s standard credit memorandum and

pricing model were required to document and support any such additional credit extension.

               (b) The SLC. The SLC could approve loans when, accounting for the loan under

consideration, the Bank’s aggregate exposure to the borrower relationship would be no more than




FILED UNDER SEAL                                  9
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 10 of 60




$15 million. It also had review authority over new or renewed loans exceeding $1 million

(including Ryan’s ILA approvals).

               (c) The BLC. The BLC could approve loans when, accounting for the loan under

consideration, the Bank’s aggregate exposure to the borrower relationship would be no more than

$25 million. It also had review authority for loans exceeding $1 million, renewed loans exceeding

$2.5 million, additional credit to substandard borrowers, and loans reviewed or approved by the

SLC (including Ryan’s ILA approvals).

               (d) The Board. The Board had to approve extensions of credit when the Bank’s

aggregate exposure to the borrower would exceed $25 million. It also had authority to review

extensions of additional credit to substandard borrowers.1

       41.     Boards of directors create board committees to ensure that at least some subset of

their members has, or, if necessary, develops, the skills, knowledge, and expertise required for the

board to act on behalf of the entity in different subject areas (for example, audit and accounting,

finance, executive compensation, and the like). At First NBC, the subset of the Board with special

responsibilities for, and that developed special expertise with respect to, the Bank’s lending

practices was the Board Loan Committee.

       42.     For example, Bank policies required the BLC, not officers alone, to approve and/or

review certain loans, especially those involving large borrowing relationships and, at times, loans

to customers with substandard or worse risk ratings; to review and discuss the quality of the Bank’s

loan portfolio, including, but not limited to, receiving and analyzing reports about non-performing



1
  On December 17, 2014, the Board approved a revised Loan Policy requiring BLC approval of
additional credit to substandard borrowers to comply with a 2013 Board Resolution. Subsequently,
in the Loan Policy approved October 21, 2015, the Board removed the requirement that the BLC
approve additional credit to substandard borrowers, requiring instead review by the BLC and
Board.
FILED UNDER SEAL                                10
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 11 of 60




loans, Criticized Asset Action Plans (“CAAPs”), overdrafts, interest reserves, charge-offs and

recoveries, troubled debt restructurings, Allowances for Loan and Lease Losses (“ALLL”), watch

list loans, portfolio analyses by risk rating and weighted average risk rating, loans with interest

reserves, stock secured loans, and the loan pipeline; and to monitor the independence and

completeness of the Bank’s loan review program.

       43.     By the time the BLC Defendants approved the Director Loans, each BLC

Defendant had been a member of the committee for approximately eight years. Accordingly, the

BLC Defendants had a special combination of experience, knowledge, and access to information

relative to the rest of the Board that enabled them to assess the loans that fell within their purview.

B.     The Bank’s History of Risky Lending Practices

       44.     Even before they approved the Loss Loans the Non-Officer BLC Defendants knew

that Ryan had a history of engaging in overly liberal lending practices to financially distressed

borrowers. Disregarding this history, however, the BLC Defendants continued to extend credit,

including the Loss Loans, to financially distressed borrowers.

       45.     At least during the three-year period preceding the Loss Loans, for example, Ryan,

who dominated the Bank’s lending practices, overused loan extensions and overdrafts to borrowers

to fund cash shortfalls and/or operational expenses. Such practices are of concern because, among

other issues, they involve extending more credit to borrowers that already have experienced

financial problems, including problems paying their loan obligations on time. The BLC

Defendants were aware of these problems. Ryan acknowledged that loan extensions had been used

too frequently and that extension and overdraft practices needed to change.

       46.     But Ryan did not make the necessary changes. Instead, he continued to dominate

the Bank’s lending practices. Loans continued to be made to financially distressed borrowers. In



FILED UNDER SEAL                                  11
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 12 of 60




particular, Ryan continued to use his ILA to extend credit to cashflow-impaired borrowers and to

allow large overdrafts which did not clear until the end of the month. These practices elevated the

Bank’s risk and contributed significantly to a deterioration in the Bank’s asset quality.

       47.     The BLC Defendants were aware of these continuing problems. For example, the

Non-Officer BLC Defendants knew that the kind of loan administration practices that Ryan was

employing, including approving loans for the vague purpose of providing borrowers with general

“working capital,” could mask the level of a borrower’s problem assets and result in costly and

unnecessary loan losses. As a result, the Non-Officer BLC Defendants knew that improvements

were needed in credit administration practices to reduce the volume of adversely classified assets

and to ensure that Ryan was not over-lending. In short, the Non-Officer BLC Defendants knew

that they could not in good faith over-rely on Ryan but rather had to inform themselves adequately

and exercise independent judgment to fulfill their responsibilities as fiduciaries of the Bank.

       48.     Unfortunately, as the Loss Loans reflect, Ryan and the Non-Officer BLC Directors

did not take remotely adequate corrective action. Ryan continued to dominate loan extensions. The

Non-Officer BLC Defendants abdicated their responsibilities to exercise due care when approving

loans that the Board had placed within their, and not merely Ryan’s, purview, by failing to perform

anything close to the kind of due diligence that any reasonably careful person would perform in

the circumstances and effectively deferring to Ryan even as to large credit exposures that lay

beyond management’s authority to approve. This lack of due care rose to the level of a reckless

disregard of, or a carelessness amounting to indifference to, the best interests of the Bank and

involved a substantial deviation below the standard of care expected to be maintained by a

reasonably careful person under like circumstances. The BLC Defendants’ lack of due care also

contributed to the Bank’s overall deterioration in asset quality.



FILED UNDER SEAL                                 12
         Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 13 of 60




C.         The BLC Defendants’ Gross Negligence and Ryan’s Breaches of Fiduciary Duty in
           Connection with the Loss Loans

           49.     In approving the Loss Loans, Ryan committed gross negligence and breached his

fiduciary duties to the Bank. The Non-Officer BLC Defendants likewise committed gross

negligence in approving the Director Loans. While the specific deficiencies and violations differed

from borrower to borrower, the BLC Defendants’ gross negligence included violating multiple

provisions of the Loan Policy; violating reasonable and prudent banking practices, including, but

not limited to, the general safety and soundness and underwriting standards of 12 C.F.R. § 364.101,

Appendix A; and violating the real estate lending standards of 12 C.F.R. § 365.2, Appendix A.

           50.     The Loss Loans are identified in the tables below using initials of the borrowers.

As noted, full names will be disclosed once an appropriate protective order is in place. These Loss

Loans are illustrative, not exhaustive, of loans that the BLC Defendants approved in violation of

their duties to the Bank. The FDIC-R reserves its right to identify additional Loss Loans.

           51.     The following table lists ILA Loans that Ryan approved through gross negligence

and in violation of his fiduciary duties, and their corresponding loss amounts.

                                                     ILA Loans
                                      ($ millions)




                                                                                                   ($ millions)
                                                     ILA Loans
                                                     Number of




                                                                            Approval
                           Loan No.



                                        Amount
                                         Credit




                                                                             Date(s)
                                                                                                      Loss


         Borrower
                                                                     From              To
    1.   RM             136119          $51.65            52        July 2, 2015   Aug. 31, 2016    $50.52
    2.   GG/CPI2        129882          $10.00            10      Sept. 29, 2014   Feb. 10, 2015     $5.13
    3.   GG/CPI         146855          $17.00            17       Feb. 23, 2015   Nov. 10, 2015    $13.59
    4.   GG/CPI         152091          $13.00            13      Nov. 27, 2015     Feb. 3, 2016    $10.43
    5.   GG/CPI         157734           $1.00             1      May 18, 2016                       $0.81
    6.   GG/CPI         157778           $1.00             1      May 25, 2016                       $0.81
    7.   GG/CPI         157965           $1.00             1        June 8, 2016                     $0.81

2
     CPI was the borrowing entity used by GG.

FILED UNDER SEAL                                             13
       Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 14 of 60




                                                  ILA Loans




                                   ($ millions)




                                                                                                 ($ millions)
                                                  ILA Loans
                                                  Number of
                                                                         Approval




                        Loan No.



                                     Amount
                                      Credit
                                                                          Date(s)




                                                                                                    Loss
      Borrower
                                                                  From               To
    8. GG/CPI      157998             $1.00            1       June 16, 2016                       $0.81
    9. GG/CPI      158075             $1.00            1       June 23, 2016                       $0.81
    10. GG/CPI     160781             $1.00            1        July 26, 2016                      $0.81
    11. GG/CPI     160792             $1.00            1        July 28, 2016                      $0.81
    12. GG/CPI     160836             $1.00            1         Aug. 5, 2016                      $0.81
    13. GG/CPI     160880             $1.00            1       Aug. 18, 2016                       $0.81
    14. GG/CPI     161023             $0.50            1         Oct. 5, 2016                      $0.41
    15. GG/CPI     161122             $0.50            1       Nov. 30, 2016                       $0.41
    16. KC         003488             $2.00            4        Oct. 29, 2015   Aug. 31, 2016      $1.95
    17. TH        1629373             $6.00            6       Apr. 13, 2015     Mar. 2, 2016      $3.18
    18. TH         127220             $1.00            1        July 27, 2016                      $0.53
    19. AP         145469             $1.50            4       Nov. 18, 2015    Mar. 24, 2016      $1.48
    20. PCC        019321            $11.00           12       Aug. 29, 2014    Aug. 29, 2016     $11.00
    21. MP         122776            $3.904            4       Aug. 22, 2014    June 17, 2016      $1.63
               5
    22. GSA/CD     086630             $2.00            2       Mar. 31, 2015    Apr. 29, 2015      $1.96
    23. GSA/SAI    136856             $1.00            1       Sept. 30, 2015                      $0.58
    24. GSA/SAI    143995             $4.00            4         Dec. 7, 2015   May 31, 2016       $2.06
    25. GSA/GD     148978             $2.22            3        Jan. 29, 2016   Sept. 30, 2016     $1.14
            Total                                    144                                         $113.29


        52.     The following table lists Director Loans that the BLC Defendants approved through

gross negligence and their corresponding loss amounts. Notably, the BLC’s Chairman opposed

loans involving each of these borrowers. Nevertheless, the BLC Defendants ignored the

Chairman’s warnings and recklessly approved the Director Loans.



3
     This loan consolidated several underlying loans of various types.
4
   In addition to this $3.9 million credit, the final loan in this series consolidated an additional
$600,000 from other loans, bringing the total principal of the loan to $4.50 million.
5
     Borrowers CD, SAI, and GD are part of the GSA borrower relationship.

FILED UNDER SEAL                                          14
       Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 15 of 60




                                                         Director Loans
                                                                                                             Approval Votes**




                                                                                     ($ millions)
                                                       Approval
                                      ($ millions)



                                                                  Date


                                                                              Loss




                                                                                                              Carrouche
    Borrower
                  Loan No.




                                                                                                                                                     Wilkinson
                             Amount




                                                                                                                                           Petagna
                             Credit




                                                                                                                                  Pandit
                                                                                                                          Moyse
                                                                                                    Aaron
                                                                                                    Ryan
1. RM            125911         $4.00                Aug. 27, 2014               $3.90 x                    x x           x       x        x         x
2. RM            129970         $4.00                Feb. 25, 2015                                  x       x x           x       x        x         x
3. RM            129970        $2.506                Apr. 22, 2015               $6.35 x                    x x           x       x        x         x
4. RM            152498         $3.90                Mar. 23, 2016               $3.81 x                    x x           x       x        x         x
5. GG/CPI        157624         $6.78                 Sept. 3, 2015                                 x       x x           a       x        x         x
6. GG/CPI        157624      $14.227                 Mar. 23, 2016               $17.04 x                   x x           x       x        x         x
7. GG/CPI        161001         $2.81 Sept. 28, 2016                             $2.29 x                    x x           x       x        x         o
8. TH            127220       $10.15 Sept. 24, 2014                                                 x       x x           x       x        x         x
9. TH            127220         $2.40                 Sept. 3, 2015              $6.67 x                    x x           a       x        x         x
10. TH           162937         $1.42                June 24, 2015                                  x       x x           x       x        x         x
11. TH           162937         $1.50                Nov. 18, 2015               $4.68 x                    x x           x       x        x         x
12. TH           162937         $5.92                Nov.18, 2015                                   x       x x           x       x        x         x
13. TH           165126         $1.40 Oct. 31, 20168                             $0.74 x                    x a           x       x        x         a
14. MP/HH9       163564       $10.62                 Jan. 25, 2017               $4.45 x                x     x           x       x        x         x
15. GSA/SAI      136856         $2.18                July 29, 2015               $1.27 x                x     x           x       x        x         x



6
   In addition to this $2.50 million credit increase, the BLC Defendants approved renewing the
$4.00 million credit that they previously had approved on this loan.
7
   In addition to this $14.22 million credit increase, the BLC Defendants approved renewing the
$6.78 million credit that they previously had approved on this loan.
8
   This loan initially was approved on October 26, 2016 with additional requirements and with
Carrouche and Wilkinson voting in favor, then re-approved on October 31, 2016 without those
requirements and with Carrouche and Wilkinson absent.
9
      HH was the borrowing entity used by MP.

FILED UNDER SEAL                                                         15
       Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 16 of 60




                                                           Director Loans
                                                                                                              Approval Votes**




                                                                                       ($ millions)
                                                         Approval
                                          ($ millions)



                                                                    Date


                                                                                Loss




                                                                                                               Carrouche
 Borrower
                    Loan No.




                                                                                                                                                      Wilkinson
                                 Amount




                                                                                                                                            Petagna
                                 Credit




                                                                                                                                   Pandit
                                                                                                                           Moyse
                                                                                                      Aaron
                                                                                                      Ryan
16. GSA/GD     148978             $1.2910                Feb. 2, 2017              $0.66 x              x      x           x       x        x         x
     Total                                                                       $51.86


        Key to “Approval Votes” columns of the table: “x” = approval; “o”= opposed; “a” =
        absent

        53.    The following Loss Loans, which are discussed by borrowing relationship (and

which discussions hereby incorporate the approval information set forth in paragraph 52 above),

illustrate the BLC Defendants’ grossly negligent failures, breaches, and violations of duty, which

caused damages to the Bank and, ultimately, the FDIC-R.

               1.              Borrower RM

        54.    As set forth in paragraphs 51 and 52, the Loss Loans to Borrower RM totaled at

least $66 million, and the Bank lost at least $64 million on those loans. These Loss Loans consist

of four Director Loans that the BLC Defendants approved under three loans numbers (Loans

125911, 129970, and 152498) and 52 ILA credit extensions that Ryan approved (or were approved

on his behalf) under a single loan number (Loan 136119). The primary stated purpose of these

loans was to finance the development of non-producing and undeveloped oil and gas reserves in

South Louisiana.

        55.    As detailed below, Ryan committed gross negligence and breached his fiduciary

duties in approving the RM ILA Loans by, among other things, making 52 $1-million loans to RM


10
   In addition to this $1.29 million credit increase, the BLC Defendants approved renewing the
$2.22 million credit that Ryan previously had approved on this loan using his ILA.
FILED UNDER SEAL                                                           16
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 17 of 60




on a nearly weekly basis for the purported purpose of drilling a single non-producing offshore oil

well in the midst of a market free fall and industry distress, even though the borrower plainly had

insufficient cash flow to amortize the loan and instead required the loans to cover its interest

payments and avoid non-accrual. The BLC Defendants committed gross negligence in approving

the RM Director Loans by, among other things, extending credit to an uncreditworthy borrower

for inherently speculative and risky oil and gas exploration and production activities, initially

without any policy to guide their lending decisions and, later, in violation of the policy the Board

belatedly adopted, and despite the fact that, contrary to other parts of the Loan Policy, the limited

and insufficient financial information they had regarding the borrower revealed that its collateral

did not produce enough cash flow to cover the amortization of the loans and the collateral was

insufficient to secure the loans.

       56.     Lending for oil and gas exploration is a very specialized type of lending, which is

recognized as a high-risk endeavor and therefore requires conservative underwriting, appropriate

structuring, experienced and knowledgeable lending staff, and sound loan administration practices.

The FDIC has long recognized the inherent risk in this type of lending, and federal guidelines

about oil and gas lending have been in place for decades. Nevertheless, the BLC Defendants

disregarded these guidelines, particularly the ones for reserve-based loans. The BLC Defendants’

indifference to established guidance fell far below the standard of care expected of a reasonably

careful bank director and dangerously magnified the Bank’s risk.

       57.     More specifically, the BLC Defendants approved three of the Director Loans and

Ryan approved seventeen of the ILA Loans in the absence of any policy to guide the Bank’s oil

and gas lending. On or about August 26, 2015, the Board finally adopted a resolution expressing

its intent to amend the Loan Policy to include guidance for oil and gas lending, incorporating “all



FILED UNDER SEAL                                 17
        Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 18 of 60




important areas contained in current regulatory guidance.” The Board did not approve its first Loan

Policy containing guidance for loans secured by oil and gas reserves, however, until October 21,

2015.

         58.   Even after the Board adopted an oil and gas lending policy, Ryan and the other

BLC Defendants recklessly ignored and violated it when extending credit and making additional

loans to RM by, for example, relying on a single well and platform offshore for essentially all of

the collateral value for the loans, in violation of the policy concerning concentration of collateral

assets. Furthermore, as mentioned, the BLC Defendants disregarded the longstanding federal oil

and gas lending guidelines for reserve-based loans. Those guidelines required loans to follow the

borrowing base structure, which is the industry standard. The borrowing base structure allows

lending institutions to manage oil and gas loans according to changes in commodity prices and

would have saved the Bank millions of dollars of losses from this borrower relationship.

         59.   The first three Director Loans to RM, approved on August 27, 2014 ($4 million,

Loan 125911), February 25, 2015 ($4 million, Loan 129970), and April 22, 2015 (increasing the

line of credit under Loan 129970 by $2.5 million, to $6.5 million), were to provide working capital

for a new oil platform and financing to drill a new oil and gas well to replace an old well.

         60.   The BLC Defendants approved these loans at a time of greatly depressed oil prices

and amid well-publicized industry distress. Oil prices fell from a peak of $115 per barrel in June

2014 to under $35 per barrel at the end of February 2016. Over a hundred oil and gas companies

filed for bankruptcy during this period, including one of the borrower’s largest and best capitalized

partners.

         61.   This industry environment exacerbated numerous serious deficiencies with these

Director Loans. For example, the credit memoranda lacked any meaningful financial analysis or



FILED UNDER SEAL                                 18
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 19 of 60




supporting documentation to justify the extension of credit. Indeed, in contravention of the Loan

Policy applicable to all loans, the loan files were devoid of any financial statements from RM after

March 2015. The limited financial information available from RM and its guarantors revealed an

insolvent and over-leveraged group with minimal cash flow that plainly was not creditworthy. RM

could not pay the interest, much less principal, on its loans. Yet, indifferent to the consequences

to the Bank, the BLC Defendants chose to ignore these glaring problems and made multiple loans

to RM to drill a single oil well amid dismal and deteriorating industry conditions.

       62.     In addition, the BLC Defendants approved Loans 125911 and 129970 with little or

no understanding or investigation of the loans’ LTV ratios. Calculated properly, those ratios far

exceeded 100%, meaning there was insufficient collateral to secure the loans. RM’s oil and gas

collateral did not produce enough cash flow to amortize the loans, and the collateral’s value fell

well short of covering the loans because of the minimal amount of producing reserves in the

collateral pool. This substantial collateral shortfall, which the BLC Defendants permitted,

constituted a flagrant violation of the Loan Policy. The predictable cumulative effect of the BLC

Defendants’ repeated disregard of the Loan Policy and of prudent lending standards was to subject

First NBC to severe risk.

       63.     Following these three Director Loans, Ryan approved the RM ILA Loans (totaling

$51.65 million) from July 2, 2015 through August 31, 2016. Ryan used his ILA a staggering 52

times in a little over a year—averaging near-weekly $1 million advances. Ryan approved this

massive expansion of credit for the purported purpose of drilling a single non-producing offshore

oil well. At the time, however, the oil and gas markets were in a virtual free fall. And despite the

stated purpose, the frequency of the ILA Loans and the cash-flow analyses that Ryan prepared for

the borrower made it obvious that RM had insufficient cash flow to amortize the loan and that one



FILED UNDER SEAL                                19
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 20 of 60




purpose of these credit extensions was to cover RM’s interest payments to avoid non-accrual. Still,

disregarding this information which clearly demonstrated RM’s lack of creditworthiness and the

corresponding risk that the loans posed to the Bank, Ryan kept gambling on RM by continually

extending credit to this substandard borrower without requiring current financial reporting,

ignoring basic principles of sound lending and violating the Bank’s Loan Policy.

       64.     Ryan inflated the Bank’s credit exposure to RM even though the LTV greatly

exceeded the Bank’s policy limits and the collateral was concentrated in very limited oil and gas

assets and was premised mostly on non-producing reserves, all of which repeatedly violated the

Bank’s lending policies, regulatory guidance, and prudent underwriting guidelines and practices.

       65.     Ryan’s 52 ILA Loans were especially egregious because when he began approving

them, RM already owed the Bank $60 million and regulators had classified $15 million of that

debt as substandard and the remaining $45 million as doubtful. Ryan grossly abused his ILA by

making almost all these incremental advances after the loan’s risk rating had been downgraded

from “Acceptable with Care” to “Substandard” on or about July 30, 2015.

       66.     In addition to the foregoing loan defects, Ryan disregarded and violated the Loan

Policy’s requirements for ILA Loans because he used his ILA over and over again even though no

emergency justified its use, the credits for many of the ILA Loans were risk rated below 5, and he

used the ILA to circumvent or bypass the lending limits set by the Board.

       67.     Meanwhile, on March 23, 2016, nearly a year into Ryan’s RM ILA lending spree,

the BLC Defendants approved another Director Loan to RM, over the objection of the BLC

Chairman, in the amount of $3.9 million (Loan 152498). The purpose of this loan was to purchase

a new oil and gas lease and drill a new well in the South Bosco Field. This loan was equally

irresponsible as lending institutions do not ordinarily make loans to fund both the purchase of oil



FILED UNDER SEAL                                20
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 21 of 60




and gas leases and the subsequent drilling of a well, which is what the BLC Defendants did in

approving this loan. The BLC Defendants’ decision to approve this unusual loan was even more

flagrant because it was risk rated “Substandard.”

       68.     Many of the deficiencies of the RM Loss Loans reflect and resulted from the fact

that neither Ryan, who effectively acted as the loan officer on this relationship, nor other Bank

staff who assisted Ryan with this borrower, had adequate, if any, oil and gas lending experience,

as required by FDIC guidelines. As a result, the lending relationship was fundamentally flawed

from the outset and deviated substantially from standard industry practices for reserve-based loans.

       69.     The BLC Defendants irresponsibly approved the RM Loss Loans despite the

obvious and grave risk that those loans posed to First NBC. Their approvals of the loans under

these circumstances fell far below the standard of care of any reasonably careful bank director or

officer and exhibited, at a minimum, reckless disregard of the Bank’s best interests.

       70.     In total, the BLC Defendants’ grossly negligent approvals of the Loss Loans to RM

directly and proximately caused the Bank to sustain losses of more than $64 million.

               2.      GG Borrowing Relationship

       71.     As set forth in paragraphs 51 and 52, the Loss Loans to the GG Borrowing

Relationship totaled at least $73 million, and the Bank lost at least $56 million on those loans.

These Loss Loans consist of at least 51 ILA Loans that Ryan approved and consolidated under 14

loan numbers (Loans 129882, 146855, 152091, 157734, 157778, 157965, 157998, 158075,

160781, 160792, 160836, 160880, 161023, and 161122); an additional five ILA Loans initially

approved by Ryan but whose consolidation with other new credit amounts into Loan 157624 the

BLC Defendants approved; and an additional Director Loan (Loan 161001), which the BLC

Defendants also approved.



FILED UNDER SEAL                                21
     Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 22 of 60




      72.     As detailed below, Ryan committed gross negligence and breached his fiduciary

duties in approving the GG ILA Loans by, among other things, feeding GG, whose borrowing

relationship with the Bank was troubled even before these loans began, more than 50 $1 million

loans, many for projects outside the Bank’s territory, for vague and unspecified purported

purposes, in repeated violation of the Loan Policy, when any rational banker would have known

that the borrower was using loan proceeds not merely for operational purposes but to pay existing

loans. The BLC Defendants committed gross negligence in approving the GG Director Loans,

which included risky hotel loans, by, among other things, extending large amounts of additional

credit when it was obvious that the GG Borrowers were continuing to fall short on their financial

projections and needed to borrow funds just to stay afloat, the Bank’s credit exposure already was

overly concentrated on the GG relationship, LTV ratios were excessive, and GG was relying on

continued loans from the Bank to cover debt service shortfalls.

      73.     GG and his development company CPI sought these unsafe loans for multiple

projects that were in the pre-development and development stage, several of which were in

Arkansas and Tennessee, outside the Bank’s territory.

      74.     Before the BLC Defendants approved these Loss Loans, the Bank had identified

the lending relationship with GG and CPI as problematic, putting GG on a CAAP, which required

additional scrutiny from Ryan and the Non-Officer BLC Defendants.

      75.     Nonetheless, by no later than September 2014, Ryan was regularly feeding the GG

Borrowers $1 million ILA Loans. By August 2016, he had done so an astounding 54 times. For

good measure, from October to November 2016, Ryan approved two half-million-dollar loans.

      76.     Ryan approved the first 10 GG ILA Loans (at $1 million each) from September

2014 to February 2015. Those loans were consolidated under a new loan (Loan 129882) on or



FILED UNDER SEAL                               22
     Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 23 of 60




about February 19, 2015. The next 17 ILA Loans (also at $1 million each) were issued from

February 2015 to November 2015, then were consolidated under new Loan 146855 on or about

November 13, 2015. From November 2015 to February 2016, Ryan approved another 13 ILA

Loans (also at $1 million each), which were consolidated under Loan 152091 on or about

February 17, 2016. From May to August 2016, Ryan approved another nine ILA Loans (also at

$1 million each). In October and November 2016, Ryan approved another two ILA Loans (at

$500,000 each).

      77.     The credit memoranda for the GG ILA Loans were identical in many respects, with

LTV ratios well above Loan Policy limits and a vaguely worded purported primary source of

repayment: “Cash Flows from [GG Borrowers’] managed and controlled project and related

companies from development activities.” The stated purpose of the ILA Loans was “working

capital,” a similarly ambiguous term that made it easy to mask the loans’ true purposes. The

frequency and amount of these loans, however, made it clear that they were servicing the existing

debt from the Bank. Put differently, borrower cash flows were not providing a source of

repayment; rather, the ILA Loans themselves were the source of repayment.

      78.     An internal Bank document, generated by a Bank officer in April 2017, admits that

beginning in December 2014—before Loan 129882 was approved—the GG Borrowers lacked

collateral to cover the level of debt outstanding. Nonetheless, from December 2014 to March

2017, the GG debt doubled from approximately $60 million to $120 million. During this time,

overdrafts by the GG Borrowers were common yet Ryan repeatedly continued to approve loans.

      79.     In approving these loans, Ryan violated Bank loan policies, including, but not

limited to, those relating to limitations on credit concentration for a borrowing relationship; lack

of cash flow from proven sources demonstrating an ability to repay the debt; lack of



FILED UNDER SEAL                                23
     Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 24 of 60




documentation regarding the real use of loan proceeds; excessive LTV ratios; and lack of audited

financial statements. Ryan’s repeated violations of the Loan Policy and prudent lending standards

were reckless and in derogation of his duties of care and loyalty.

      80.     But Ryan was not the only one approving loans to the GG Borrowers. On or about

March 23, 2016, the BLC Defendants (including Ryan) approved the loan listed in paragraph 52

in which the Bank consolidated an additional five $1 million Ryan-authorized ILA Loans together

with a prior loan approved by the BLC Defendants for $6.78 million as well as new credit, for a

total loan of $21 million. The stated purpose of this loan (Loan 157624) was to finance a hotel

project in Hot Springs, Arkansas, outside the Bank’s territory.

      81.     Hotel loans are among the riskiest commercial real estate loans that banks make. It

is particularly important, therefore, for banks to follow prudent lending standards and bank

policies if they choose to make these loans so that they can manage and mitigate this inherent

risk. In approving Loan 157624, however, the BLC Defendants recklessly ignored established

bank policies, including those relating to out-of-territory lending, lack of equity, LTV ratio, and

appraisal standards. The loan structure for the hotel was unorthodox and the loan was not

supported by the value or operational performance of the hotel. Further, the loan violated the Loan

Policy with respect to seven out of eight underwriting standards for real estate lending.

      82.     The five ILA Loans that were consolidated within Loan 157624 were listed in the

loan approval packet and shared the same vague description as $76 million in additional loans

previously made to the GG Borrowers. From the loan packet, it was obvious to any reasonably

careful bank director in the position of the BLC Defendants that the GG Borrowers were not

creditworthy and were borrowing funds to stay afloat. Yet the BLC Defendants ignored the

glaring risk. It likewise was obvious that GG and CPI required regular loans from the Bank to



FILED UNDER SEAL                               24
     Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 25 of 60




pay their pre-existing debt to the Bank. The BLC Defendants received at least quarterly reports

regarding GG and CPI, giving them even more information about GG Borrowers’ credit

problems. The BLC Chairman objected to the loan but the BLC Defendants voted to approve it

over his objection.

      83.     With respect to the remaining GG Director Loan, all BLC Defendants except

Wilkinson approved another $2.81 million in credit on September 28, 2016 (Loan 161001). The

purported purpose of this loan, as with the more than $50 million in Ryan-approved ILA Loans,

was to provide “working capital.” And, as with the Arkansas hotel loan, the BLC Chairman

objected to this Director Loan, but again the BLC Defendants voted to approve it over his

objection.

      84.     In approving Loan 161001, the BLC Defendants ignored, among other things, the

facts that the GG Borrowers lacked a valid, viable, or documented primary or secondary source

of repayment; the GG Borrowers’ debt service coverage ratio (“DSCR”) was inadequate; the GG

Borrowers had failed to show improvement in performance and cash flow, and continued to fall

short of projections; the GG Borrowers’ interim financial statements demonstrated their reliance

on continued loans from the Bank to cover debt service shortfalls; GG’s low credit score was a

Bank policy exception; the LTV ratio exceeded Bank policy; and the loan exposure to the GG

Borrowers violated the Loan Policy’s prohibitions against over-concentration.

      85.     The BLC Defendants irresponsibly approved the GG Loss Loans despite the

obvious and grave risk that those loans posed to First NBC. Their approvals of the loans under

these circumstances fell far below the standard of care of any reasonably careful bank director or

officer and exhibited, at a minimum, reckless disregard of the Bank’s best interests.




FILED UNDER SEAL                               25
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 26 of 60




       86.     In total, the BLC Defendants’ grossly negligent approvals of the Loss Loans to the

GG Borrowers directly and proximately caused the Bank to sustain losses of more than $56

million.

               3.      Borrower KC

       87.     As set forth in paragraph 51, the Loss Loans to Borrower KC totaled at least $2

million, and the Bank lost at least $1.9 million on those loans. These loans consisted of four ILA

loans which Ryan approved from October 29, 2015 through August 31, 2016 under a single loan

number (Loan 003488).

       88.     As detailed below, Ryan committed gross negligence and breached his fiduciary

duties in approving the KC ILA Loans by, among other things, doubling down on a borrower with

an egregious history of delinquent loans and no demonstrated ability to repay based on

conspicuously little information about the real estate projects that were the subject of the loans and

the purported guarantee of a guarantor who had negative net worth.

       89.     The loans’ stated purposes were to repair, renovate, and improve various real estate

properties, including residential properties and a gas station/convenience store.

       90.     By the time Ryan approved the KC Loss Loans, more than $16 million of loans to

the KC Borrowing Relationship had been classified as substandard. In fact, the KC Borrowing

Relationship had been among those borrowing relationships most responsible for the Bank’s loan

classifications for years. The Bank had had to seize property held by a KC business. KC was the

subject of some of the Bank’s largest criticized assets. Previous KC loans were characterized by

numerous renewals with little or no repayment of principal and questionable collateral protection,

reflecting KC’s inability or unwillingness to pay principal and interest fully. In short, it was

obvious that KC was not creditworthy, but Ryan looked the other way.



FILED UNDER SEAL                                 26
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 27 of 60




       91.     The loan approval packages provided little information about the real estate projects

that were the purported subject of the KC Loss Loans other than vague and general statements of

cost. Information was lacking, for example, as to the detail of costs and budgets, the contractors to

be involved, the scope and timeframe of the projects, and the nature of the work to be performed,

as required for loans of this sort. To go along with his history of serious delinquency and failure

to perform on previous Bank loans, KC had low credit scores. The named guarantor’s liabilities

exceeded her assets. Making matters worse, these loans were unsecured.

       92.     Ryan’s approval of these loans violated the Loan Policy and prudent lending

standards in numerous ways, including by providing overly generous, accommodative, and unduly

risky loan amounts for vague loan purposes to an uncreditworthy borrower without remotely

adequate financial information demonstrating an ability to repay. Ryan’s credit analyses were

cursory. The Bank never obtained reviewed or audited financial statements. No global cash flow

analysis was performed. Ryan ignored the Bank’s lending authority limits and failed to obtain

required BLC approval.

       93.     Ryan irresponsibly approved the KC Loss Loans despite the obvious and grave risk

that those loans posed to First NBC. His approvals of the loans under these circumstances fell far

below the standard of care of any reasonably careful bank director or officer and exhibited, at a

minimum, reckless disregard of the Bank’s best interests.

       94.     In total, Ryan’s grossly negligent approvals of the Loss Loans to KC directly and

proximately caused the Bank to sustain losses of more than $1.9 million.




FILED UNDER SEAL                                 27
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 28 of 60




               4.     Borrower TH

       95.     As set forth in paragraphs 51 and 52, the Loss Loans to Borrower TH totaled at

least $29 million, and the Bank lost at least $15 million on those loans. These Loss Loans consist

of seven ILA Loans and six Director Loans.

       96.     As detailed below, Ryan committed gross negligence and breached his fiduciary

duties in approving the TH ILA Loans by, among other things, propping up a real estate developer

with no proven source of repayment but with years of plummeting sales and growing operational

losses, which wanted the money not merely to paper over its obvious financial distress but also to

pay the personal expenses of its owner/guarantor. The BLC Defendants committed gross

negligence in approving the TH Director Loans by, among other things, approving multiple large

loans for general “working capital” purposes even as the borrower’s self-serving sales speculations

proved unfounded, by not requiring that a government guarantee that was necessary to make a

more-than-$10-million loan defensible come through before the Bank took on the credit exposure,

and by ignoring the borrowers’ inability to pay such basic expenses as payroll and taxes, all for

the benefit of a borrower that the Non-Officer BLC Defendants also knew was plummeting

financially.

       97.     In August 2016, using his administrative review authority (“ARA”), Ryan

consolidated and renewed on an interest-only basis six of the seven TH ILA Loans and three of

the six Director Loans into a single loan (Loan 162937). The three remaining Director Loans were

made under two different loan numbers (Loans 127220 and 165126). Ryan also made an additional

ILA Loan under Loan 127220.

       98.     TH was the developer of a residential complex and marina on the Northshore of

Lake Pontchartrain. The Loss Loans to TH concerned various aspects of this project.



FILED UNDER SEAL                                28
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 29 of 60




       99.     On September 24, 2014, the BLC Defendants approved a $10.15 million Director

Loan to TH (Loan 127220). The purpose of this loan was to construct the first phase of a three-

phase apartment complex. The credit memorandum and analysis stated that the loan was to be

subject to a minimum 60% U.S. Department of Agriculture (“USDA”) “conditional guarantee.”

The guarantee was key to mitigating the very substantial risk of this loan. That risk existed because,

as the credit analysis acknowledged, repayment of the loan was dependent on TH’s ability to reach

its sales projections for the project. And, despite the Loan Policy’s calling for primary sources of

repayment to be “proven,” the borrower’s projections were self-serving and speculative.

Furthermore, neither the guarantor, who had low credit scores and a high debt-to-income ratio, nor

the guarantor’s operating entity provided a secondary source of repayment. The credit analysis

generously characterized TH’s financial performance as reflecting “inconsistent” operations over

the years reviewed, but the summary income statement showed that TH’s performance was far

worse than “inconsistent”: sales had fallen steadily for three years while operating losses had

grown. These financial declines were attributable to declines in both the national and local housing

markets. Yet the BLC Defendants recklessly agreed to provide 100% financing, requiring no

upfront cash equity from TH.

       100.    Significantly, documents in the loan file made it clear that the USDA guarantee was

not itself guaranteed. Indeed, a letter in the file stated that the Bank had not even applied for the

guarantee. Yet, despite TH’s highly leveraged loan request, the lack of any proven source of

repayment from the borrower or guarantor, and the lack of debt service coverage by the project

itself, the BLC Defendants failed to condition their approval on the guarantee actually being

obtained. This flagrant violation of prudent lending standards proved catastrophic as the guarantee

was not obtained, leaving the Bank exposed to millions of dollars of deficient debt.



FILED UNDER SEAL                                 29
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 30 of 60




       101.    Following Loan 127220, over a span of eleven months beginning in April 2015,

Ryan inflated TH’s credit further through six $1 million ILA Loans (Loans 134238, 134678,

139199, 139584, 144787, and 149792, which Ryan later consolidated into Loan 162937).

       102.    The first three TH ILA Loans, on April 13, June 3, and July 17, 2015, were to

provide additional funds for preliminary costs associated with the borrower’s condo/apartment

project, nearby marina, and related roads and improvements; to pay property taxes; and to provide

general working capital to support TH’s ongoing operations. But the credit memoranda and credit

analyses did not disclose the supposed costs on which the loan funds would be spent. The

designated primary source of repayment was the future sale of units within the development, but

no contracts for such sales existed, just speculative pro formas. Nor did TH offer any other source

of repayment. This inadequate source of repayment contravened the Loan Policy, which, again,

stated that the primary source of repayment should be one or more proven sources of cash flow.

The company’s sales had fallen from over $21 million in fiscal year 2011 to only $1.2 million in

fiscal year 2014. Meanwhile, operating losses had grown to more than $700,000 two years running.

Especially in these circumstances, TH’s need for “general working capital” and funds to cover tax

obligations denoted obvious financial distress.

       103.    Nor was the collateral for these loans adequate. For one thing, the Loan Policy made

clear that collateral was to be a backstop protection, not a primary basis for lending. Put otherwise,

collateral was necessary but not sufficient to make a prudent loan and could not offset a plainly

distressed borrower’s lack of ability to pay. Beyond this, though, many of the appraisals purporting

to support the collateral’s value were stale, dating from 2012 and 2013. While the credit

memoranda claimed that the appraisals had been revalidated, no information was provided to




FILED UNDER SEAL                                  30
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 31 of 60




support this claim nor was there any evidence of appraisal reviews being performed, as the Bank’s

Loan Policy and federal bank regulations required.

       104.    And still TH’s owner/guarantor was not creditworthy. Among other things, the

credit analysis acknowledged that he provided no source of repayment, his credit scores were sub-

prime, and he had a high debt-to-income ratio.

       105.    The fourth TH ILA Loan, on September 10, 2015, did not even pretend to serve a

TH purpose, much less advance the company’s business prospects and consequent ability to repay

the Bank. This loan’s stated purpose was to cover the owner/guarantor’s personal and household

expenses and to reimburse him for funds he previously had advanced to TH for general working

capital. In addition to the problems and deficiencies of the first three TH ILA Loans, which also

applied here, the owner/guarantor’s decision to have TH borrow another $1 million to pay his

personal expenses was a strong indication that he was a weak guarantor and that TH did not

generate cash flow sufficient to pay him what he needed to live on. And like the other TH ILA

Loans, this loan was far from the kind of emergency credit the Loan Policy required for Ryan to

use his ILA.

       106.    The fifth TH ILA Loan, on October 18, 2015, returned to the vague purported

business purpose of “general working capital.” But no rational banker could have thought that TH

or its owner/guarantor had improved as credit risks. To the contrary, the fact that TH kept requiring

seven-figure general working capital infusions made it obvious that the company was

deteriorating. While working capital lines of credit customarily support companies that experience

periodic ebbs and flows to their liquidity, the kind of “permanent working capital” that First NBC

continued to finance for TH amounted to simply pumping more and more money into a distressed

company that could not pay it back.



FILED UNDER SEAL                                 31
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 32 of 60




        107.   By the time of the final TH ILA Loan, on March 2, 2016, in addition to all the other

problems set forth regarding the previous ILA Loans, LTV had jumped as a result of a significant

decrease in land values. The credit analysis also reported that the marina part of TH’s development

was underperforming. Things had gotten so bad that TH had to record a loss before taxes of $1.6

million for the six months ending January 1, 2016.

        108.   Meanwhile, on June 24, 2015, amid Ryan’s ILA Loans to TH, the BLC Defendants

had approved a $1.425 million Director Loan to TH (Loan 134238, later consolidated into Loan

162937). This loan’s purpose was to pay $1.325 million in overdue payroll taxes and $100,000 in

2014 property taxes. Payroll taxes are one of the most routine expenses of operating a business

and a very serious obligation that must be met in a timely fashion. TH’s inability to pay basic tax

obligations should have been a major red flag to the BLC Defendants regarding TH’s financial

distress.

        109.   As with the TH ILA Loans, the primary source of repayment for this loan (“[s]ale

of real estate/cash flow from Marina and overall operation of” TH) was based on speculative pro

forma projections that had not borne fruit. TH had achieved no recent real estate sales. Nor did the

loan file report plans or progress on apartment or marina rentals. This reality cast serious doubt on

the 2011 feasibility study which the borrower apparently was claiming supported its sales

projections. Making matters worse, the credit analyst reported that another multi-family project

was being developed nearby, subjecting TH’s project to competition. Here too, the

owner/guarantor provided no meaningful credit support.

        110.   Nevertheless, on September 3, 2015, each of the BLC Defendants except Moyse,

who was absent, renewed the $10.15 million they had approved in September 2014 on Loan

127220, and, throwing good money after bad, approved a $2.4 million credit increase. As described



FILED UNDER SEAL                                 32
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 33 of 60




above, the previous approval had contemplated (but not actually required) the borrower’s obtaining

a loan guarantee from the USDA, which would have mitigated the risk to the Bank from the

speculative real estate project for which the loan was made (the primary source of repayment being

future real estate transactions supported only by unsubstantiated projections). By the time of the

renewal and increase, however, the BLC Defendants knew that the borrower would not obtain the

guarantee. In addition, the borrower’s financial condition was getting worse. Yet the BLC

Defendants approved the loan (over the BLC Chairman’s dissent) without requiring the borrower

to provide additional equity. As a result, collateral was inadequate and the LTV ratio was

excessive, in violation of the Loan Policy.

       111.    On November 18, 2015, the BLC Defendants approved two more Director Loans

in the amounts of $1.5 million and $5.92 million (Loans 145040 and 145051 respectively, both of

which later were consolidated into Loan 162937). Loan 145040 was to pay off another loan at

Community Bank. Given TH’s extremely poor financial condition, lack of performance, and

unrealistic prospects for improvement, all of which the BLC Defendants knew from the loans

discussed above, the BLC Defendants’ approval of yet another $1.5 million in exposure to pay off

another bank was another egregious departure from prudent lending standards and practices.

Instead of requiring TH to reduce its debt to the Bank or at least let other banks share the risk, the

BLC Defendants caused the Bank to absorb more and more of TH’s obviously substantial credit

risk. This is another loan that the BLC Chairman opposed.

       112.    The $5.92 million loan (Loan 145051) consisted of $3 million to provide additional

working capital to support TH’s ongoing operation and $2.91 million to pay off two loans that

TH’s owner/guarantor owed the Bank personally. The owner/guarantor’s desire to load more debt

on top of the massive debt TH already owed to satisfy his own personal debt obligations that were



FILED UNDER SEAL                                 33
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 34 of 60




secured by his primary residence, combined with all the other information the BLC Defendants

had about TH’s deteriorating performance and the owner/guarantor’s poor credit, put them on clear

notice of TH’s and its guarantor’s lack of creditworthiness. Yet the BLC Defendants approved this

self-evidently risky loan, also over the BLC Chairman’s dissent.

       113.    TH’s need for $3 million in working capital on top of the millions in working capital

loans that the Bank already had extended in 2015 highlighted further TH’s serious financial

distress. With this loan, as with the others discussed above, the stated primary source of repayment

(future sales of real estate, cash flow from the marina, and the overall operation of TH) was highly

speculative, made worse by the fact that TH’s financial performance had been deteriorating for

years. Indeed, TH’s most recent summary income statement showed TH extending to four years

its streak of year-over-year sales declines, with annual sales now less than $1 million, and more

than doubling its annual operating loss to over $1.6 million. The represented collateral value still

was based on stale two-and-a-half- to three-year-old appraisals, with only conclusory statements

that the appraisals had been revalidated, unsupported by information as to who “revalidated” them,

when, or on what basis. It simply is not realistic that the property values could have remained the

same for years, especially given TH’s lack of sales and the poor housing market to which the

Bank’s credit analyses referred. Yet the BLC Defendants again approved an expansion of the

Bank’s already considerable credit exposure to an obviously uncreditworthy borrower for

conspicuously vague purposes.

       114.    On July 27, 2016, Ryan approved another $1 million ILA Loan to TH. This loan

was an increase to Loan 127220, the loan for Phase 1 of the apartment complex, bringing the

balance of that loan to $13.55 million. By this time, the loan had been downgraded to substandard.

TH’s financial position was continuing to deteriorate. TH was behind on its payments to suppliers,



FILED UNDER SEAL                                34
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 35 of 60




did not have enough fencing and security on the project, and still had not completed the entrance

to the complex despite the Bank having loaned it large amounts of money over a year-and-a-half

period. This ILA Loan was another example of throwing good money after bad.

       115.    But the Bank’s TH lending spree did not end there. In October 2016, the BLC

Defendants approved another $1.4 million loan to TH (Loan 165126). The purpose of this loan

was to cover TH’s payroll, accounts payable associated with its condo project, and more “general

working capital.” On October 26, the BLC Defendants required, as a condition to approval, a fee

or rate increase and additional collateral. Five days later, though, the BLC Defendants re-approved

the loan without these additional requirements. The BLC Chairman voted no both times.

       116.    TH’s inability to pay was apparent. A “use of proceeds” list in the loan package

showed that a significant part of the loan—$420,000—was in fact to cover TH’s September 2016

debt service. At close of business on October 31, those loans would have become a month past due

without a payment being made to bring the loans current. As a result, the Bank would have had to

report the TH loans as such on a call report that subsequently would be submitted to the FDIC.

The use-of-proceeds list also suggested that the “payroll” funds might be used to cover TH account

overdrafts. TH had been deemed a substandard borrower.

       117.    Contrary to TH’s longstanding rosy projections, the company had generated very

little real estate sales activity. This failure was significant because real estate sales were supposed

to be TH’s primary source of repayment. Although the homebuilding company DR Horton had

expressed recent interest in some of TH’s land, TH’s apartment/condo project was not generating

cash flow. Even after having its condos listed with a real estate agent for 75 days, TH had gotten

no sales contracts. Furthermore, the project now exceeded the stated time-to-complete. And the




FILED UNDER SEAL                                  35
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 36 of 60




marina portion of TH’s development was generating revenues at less than 15% of projections. The

collateral, consisting mostly of raw land, was inadequate, with an LTV above policy limits.

       118.    Even with some land sales to DR Horton, TH’s revenues for the most recent fiscal

year were only $4 million, down 80% from 2011 and not enough to cover the company’s general

and administrative expenses and interest-only debt service. These circumstances clearly reflected

an unsustainable, failing business. Meanwhile, the credit score for TH’s guarantor had fallen to a

paltry 593 and he still had a high debt-to-income ratio. Once again, the credit analysis stated that

the guarantor provided no source of repayment. Yet the BLC Defendants turned a blind eye to the

substantial risk of the Bank’s making yet another loan to TH.

       119.    The BLC Defendants irresponsibly approved the TH Loss Loans despite the grave

and obvious risk that those loans posed to First NBC. Their approvals of the loans under these

circumstances fell far below the standard of care of any reasonably careful bank director or officer

and exhibited, at a minimum, reckless disregard of the Bank’s best interests.

       120.    In total, the BLC Defendants’ grossly negligent approvals of the Loss Loans to TH

directly and proximately caused the Bank to sustain losses of more than $15 million.

               5.      Borrower AP

       121.    As set forth in paragraph 51, the Loss Loans to Borrower AP totaled at least $1.5

million, and the Bank lost at least $1.48 million on those loans. These Loss Loans consist of four

ILA Loans which Ryan approved under a single loan number (Loan 145469) from November 18,

2015 through March 24, 2016.

       122.    As detailed below, Ryan committed gross negligence and breached his fiduciary

duties in approving the AP ILA Loans by, among other things, aggressively lending on an




FILED UNDER SEAL                                36
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 37 of 60




unsecured basis to an indisputably underperforming real estate developer that had a history of

overdrafts, trouble paying taxes, speculative sources of repayment, and an overstated DSCR.

       123.    The initial AP Loss Loan was an unsecured twelve-month revolving line of credit

for $190,000 for the purported purpose of providing “continued work” on unspecified real estate

properties. But Ryan’s credit request provided no information about what “continued work” was

being performed, the identity of the properties, or even the cost of the work. There was no

discussion about whether the loan proceeds would add value or result in increased cash flow that

could repay the loan. Nor did the loan package address why the loan was not being secured by the

property being improved, which contravened prudent lending standards and practices and the Loan

Policy. In other words, Ryan’s purported justification for the loan lacked the most basic

information that any reasonably careful banker would require.

       124.    Over the next four months, Ryan approved three extensions, increasing the

unsecured exposure to $1.5 million. With the first installment, Ryan increased the exposure to

$500,000 for the same vague purpose listed on the original approval—“continued work”—again

with no explanation. No later than the second increase to $1 million, it was evident that this was a

distressed borrower. Indeed, a primary purpose of this second increase (in addition to purchasing

more properties and continuing unspecified renovations) was to cover $164,000 in overdrafts,

which was not new with this borrower, as was clear from the credit memorandum. The overdrafts

were caused by the payment of real estate taxes and insurance, which were recurring, normal

expenses known to the real estate developer. The fact that such expenses caused overdrafts that

could not be cured promptly indicated serious financial difficulties. The third and final increase,

bringing the total exposure from the AP ILA Loans to $1.5 million, provided still more funds for




FILED UNDER SEAL                                37
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 38 of 60




the purchase of additional properties, along with funds for continuing renovations. Again, the loan

for the purchase of property was unsecured.

       125.    When Ryan approved the first $190,000 unsecured loan, the Bank already had

$990,000 in unsecured credit outstanding to this borrower. Ryan compounded the situation with

his subsequent increases, ballooning the Bank’s unsecured exposure to $2.49 million out of the

total borrowing relationship of $12.3 million.

       126.    In doing so, Ryan violated the Loan Policy by failing to identify and document

reliable sources of repayment, failing to adhere to underwriting, repayment, and financial

information requirements, and violating policies regarding undesirable loans, overdrafts, real

estate lending, and unsecured credit. For instance, Ryan approved these loans without even having

a current personal financial statement of the guarantors. The guarantors, who had minimal

liquidity, little income, and a sizable negative adjusted gross income (“AGI”) of $1.4 million (i.e.,

an AGI loss), offered little support for repayment. No global cash flow analysis was performed as

required and no cash flow from a proven source demonstrating an ability to repay the debt was

identified. The DSCR was overstated as it included speculative sources of cash flow and

unsupported assumptions, but even overstated it was less than 1:1.

       127.    Ryan irresponsibly approved the AP Loss Loans despite the obvious and grave risk

that those loans posed to First NBC. His approvals of the loans under these circumstances fell far

below the standard of care of any reasonably careful bank director or officer and exhibited, at a

minimum, reckless disregard of the Bank’s best interests.

       128.    In total, Ryan’s grossly negligent approvals of the Loss Loans to AP directly and

proximately caused the Bank to sustain losses of nearly $1.5 million.




FILED UNDER SEAL                                 38
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 39 of 60




                 6.     Borrower PCC

       129.      As set forth in paragraph 51, the Loss Loans to Borrower PCC totaled at least $11

million, and the Bank lost at least $11 million on those loans. These Loss Loans consist of 12 ILA

credit extensions that Ryan approved under a single loan number (Loan 019321) from August 29,

2014 through August 29, 2016.

       130.      As detailed below, Ryan committed gross negligence and breached his fiduciary

duties in approving the PCC ILA Loans by, among other things, nearly doubling the Bank’s

exposure to this construction business purportedly to fund working capital needs for new jobs

despite the fact that PCC’s unaudited and inadequate financial statements showed that PCC’s sales

were flat and, at the same time that Ryan was lavishing additional credit on PCC, its accounts with

the Bank were overdrawn, often at month end, revealing that the borrower’s real need for, and use

of, the loans was to make loan payments because its weak cash flow was insufficient to keep the

loans current.

       131.      PCC operated a construction business that, according to Ryan’s credit

memorandum, was expanding through the addition of large contracts, including two government

contracts. This new business, Ryan said, necessitated additional working capital through additional

borrowing. The purported purpose of the PCC ILA Loans was to provide such working capital.

       132.      These ILA Loans nearly doubled, however, the Bank’s exposure to PCC to $22.5

million. And in approving these loans, Ryan repeatedly violated the Bank’s lending policies,

prudent lending standards, and regulatory rules, regulations, and guidance by greatly increasing

the Bank’s exposure without credible and adequate financial information necessary to analyze the

borrower’s creditworthiness.




FILED UNDER SEAL                                39
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 40 of 60




       133.    Specifically, the financial statements that PCC provided to the Bank did not show

sales increasing materially. Instead, sales remained roughly flat during the period of these loans.

The flat sales combined with increasing accounts receivable meant that PCC was experiencing

declining receivables turnover (i.e., how often a company collects its receivables during a given

period) and an increasing days receivables outstanding (i.e., the number of days it takes a company

to collect cash generated by sales), indicating that PCC was waiting nearly three years to collect

payments from its customers after invoicing them. Businesses are not viable under such conditions.

Thus, the main supposed justification for these credit extensions—a significant increase in

business—was untenable.

       134.    Nor did PCC’s financial information meet the minimum standards for credit

underwriting and analysis. The company’s financial statements not only failed to support Ryan’s

representations regarding its sales growth but also often were stale, incomplete, and inadequate.

The financial statements were not independently prepared, reviewed, or audited, as required by the

Loan Policy. Nor did the Bank obtain receivables aging data even though the Bank was relying on

PCC’s accounts receivables for collateral and repayment.

       135.    Meanwhile, as Ryan was greatly expanding the Bank’s exposure to PCC, PCC’s

accounts were overdrawn by sizeable amounts, revealing that its cash flow was weak. The level of

overdrawn accounts at the end of the month, on multiple occasions, showed that PCC obtained and

used these loan increases to keep its loans with the Bank current as it plainly did not have sufficient

funds to make the required payments. Moreover, PCC’s principal and guarantor had poor credit

scores—with noted serious delinquencies and derogatory information—throughout the period in

which Ryan approved the loans.




FILED UNDER SEAL                                  40
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 41 of 60




       136.    Ryan recklessly disregarded and violated the Loan Policy’s requirements for ILA

Loans by using his ILA repeatedly in the absence of any emergency credit needs. Month after

month, Ryan increased PCC’s line of credit based upon his own generic assertions about the

growth of the company, which lacked any specificity or support.

       137.    Ryan irresponsibly approved the PCC Loss Loans despite the obvious and grave

risk that those loans posed to First NBC. Ryan’s approvals of the loans under these circumstances

fell far below the standard of care of any reasonably careful bank director or officer and exhibited,

at a minimum, reckless disregard of the Bank’s best interests.

       138.    In total, Ryan’s grossly negligent approvals of the Loss Loans to PCC directly and

proximately caused the Bank to sustain losses of more than $11 million.

               7.      MP Borrowing Relationship

       139.    As set forth in paragraphs 51 and 52, the Loss Loans to the MP Borrowing

Relationship totaled at least $14 million, and the Bank lost at least $6 million on those loans. These

Loss Loans consist of four ILA credit extensions that Ryan approved under a single loan number

(Loan 122776) and one Director Loan that the BLC Defendants approved (Loan 163564).

       140.    As detailed below, Ryan committed gross negligence and breached his fiduciary

duties in approving the MP ILA Loans by, among other things, repeatedly using his ILA to extend

credit to a substandard borrower to provide working capital for the zoning and ultimate sale of a

real estate site without obtaining feasibility studies, marketing plans, or sales forecasts or

projections for the site, the sale of which was supposed to pay off the loan and other debt, let alone

reviewed or audited financial statements, a global cash-flow analysis, or an up-to-date and credible

appraisal of the property. The BLC Defendants committed gross negligence in approving the MP

Director Loan by, among other things, consolidating two tax credit loans to finance an office



FILED UNDER SEAL                                 41
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 42 of 60




building and nursing home into a “new” loan with a lower interest rate and extended maturity date

despite knowing that the borrower’s creditworthiness had greatly deteriorated, it had insufficient

debt service coverage and collateral to support the loan under the Bank’s Loan Policy, and the

borrower’s guarantor (and principal) already had a substandard relationship with the Bank and

offered no real financial support if the project failed.

       141.    Ryan approved the first $1 million MP ILA Loan on September 4, 2014. The loan

established a new non-revolving line of credit to provide working capital for the operations of MP-

related entities. The credit also was to be used to enhance and maintain MP’s debt service on

existing real estate properties owned by the borrower.

       142.    The credit memorandum acknowledged, however, that MP had, on a global basis,

a significant inventory of largely underperforming real estate parcels that were not generating

enough cash flows to cover all debt levels. In particular, the new loan extended credit to allow MP

to perform preliminary tasks for a pre-stressed concrete site, which the borrower intended to

market and sell within the next 12 to 18 months. MP intended to use the money to cover various

planning tasks, surveys, legal fees, and studies (like wetlands and traffic) requested by the

municipality in connection with the site’s total redevelopment.

       143.    Ryan approved this new loan despite the fact that the borrower was classified as

substandard, the borrower’s real estate did not produce cash flow to carry his debt, and the loan

file contained no studies, plans, or other necessary specifics of the pre-stressed concrete site, the

sale of which was intended to repay the loan and his other debt to the Bank.

       144.    Ryan subsequently approved three credit extensions under this loan number. On

July 17, 2015, Ryan approved the first $1 million increase to pay continuing costs and interest

carry for various projects while MP waited for final approval of the re-zoning, planning, and sales



FILED UNDER SEAL                                  42
        Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 43 of 60




of the pre-stressed concrete site, which the borrower expected to present to the municipality and

receive approval for in September 2015.

         145.   The approval process took longer than anticipated, however, and RM sought

additional credit from the Bank. On December 18, 2015, Ryan approved a second $1 million

extension of MP’s line of credit. The loan proceeds were to be used for various purposes, including

the payment of real estate taxes, legal fees on various settlements, other legal fees, traffic studies,

and engineering reports for the planning and approvals of zoning and development of the pre-

stressed concrete site.

         146.   On June 30, 2016, Ryan approved a third renewal of the line of credit to consolidate

two other loans issued to MP and provide $900,000 in additional funds for working capital while

MP finalized the pre-stressed concrete site’s re-subdivision and sales. The renewed and increased

line of credit was supposed to fund ongoing legal, architectural, planning, and interest carry costs

while awaiting finalization of the project, approval by the municipality, and sales of site plats and

lots.

         147.   The credit memoranda for each of these credit extensions, like the one for the initial

loan, recognized that although MP owned a large inventory of real estate, it did not generate

enough cash flow to service the borrower’s debts to the Bank.

         148.   Nonetheless, Ryan obliged the borrower’s repeated requests for increased credit

even though the borrower had a poor credit rating, was seriously delinquent, had failed to perform

on previous Bank loans, and, perhaps most significantly, both he and his direct obligation loan

facilities were classified as substandard.




FILED UNDER SEAL                                  43
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 44 of 60




       149.    Despite these obvious and recognized red flags, Ryan renewed and increased the

loan to provide MP with working capital, ultimately raising the Bank’s exposure by $3.9 million,

indifferent to the substantial risk to which he was exposing the Bank.

       150.    Ryan’s advancement of the MP Loss Loans recklessly violated the Bank’s lending

policies, materially departed from prudent lending standards, and contravened regulatory rules,

regulations, and guidance.

       151.    The Bank never obtained reviewed or audited financial statements in increasing this

line of credit, nor did it perform a global cash flow analysis, as required. The Bank also did not

obtain adequate collateral or a sound repayment plan for the ILA Loans even though the credit

memoranda acknowledged the insufficiency of this distressed borrower’s cash flow to service his

debt. Instead, Ryan relied largely and repeatedly on the speculative potential for rezoning and

eventual successful sale of the pre-stressed concrete site to repay the loans. Ryan did not even

obtain feasibility studies, marketing plans, or sales forecasts or projections. Instead, for the

December 2015 and June 2016 loans, the site was valued based on an appraisal methodology that

lacked credibility.

       152.    In issuing the MP ILA Loans, Ryan ignored the Bank’s Loan Policy, which

prohibited him from using his ILA in non-emergency situations and for distressed and substandard

credit relationships, like this one, that were not risk rated 5 or better and performing as agreed.

       153.    The BLC Defendants approved the MP Director Loan on January 25, 2017. The

purpose of this $10.62 million loan to an MP-managed limited liability company (Loan 163564)

was to consolidate and retire two prior New Market Tax Credit loans from the Bank and provide

permanent financing for an office building and nursing home. MP was the loan’s sole guarantor.




FILED UNDER SEAL                                 44
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 45 of 60




       154.    The Director Loan suffered from many of the same deficiencies as the MP ILA

Loans and similarly failed to comply with the Bank’s underwriting requirements and grossly

deviated from safe and sound banking practices.

       155.    By the time the BLC Defendants approved this loan, MP—as well as prior Bank

loans to him—had been rated substandard. MP contributed no equity and offered no real financial

support as the sole guarantor if the project developed problems. Consequently, the BLC

Defendants knew that the company’s operating prospects represented the only theoretical source

of repayment. Nevertheless, the BLC Defendants ignored the company’s weak operating results

and low DSCR, meaning that they approved the new loan despite knowing that the company would

likely barely be able to service its debt load near maturity. The BLC Defendants also ignored that

the LTV for the loan greatly exceeded the limits in the Bank’s Loan Policy and thus the collateral

did not adequately secure the loan.

       156.    Indeed, the loan satisfied the Bank’s own criteria for a Troubled Debt Restructure

(“TDR”) under the Loan Policy but the BLC Defendants failed to treat it as such. The loan reduced

the interest and extended the maturity date for a debtor whose creditworthiness had greatly

deteriorated, had insufficient debt service coverage to support the loan under the Bank’s loan

policy, and had a guarantor (and principal) who had a substandard relationship with the Bank. The

BLC Defendants nonetheless approved the loan without following the Loan Policy’s TDR

procedures and special authorization requirements.

       157.    The BLC Defendants irresponsibly approved the MP Loss Loans despite the

obvious and grave risk that those loans posed to First NBC. Their approvals of the loans under

these circumstances fell far below the standard of care of any reasonably careful bank director or

officer and exhibited, at a minimum, reckless disregard of the Bank’s best interests.



FILED UNDER SEAL                                45
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 46 of 60




       158.    In total, the BLC Defendants’ grossly negligent approvals of the Loss Loans to MP

directly and proximately caused the Bank to sustain losses of more than $6 million.

               8.      GSA Borrowing Relationship

       159.    As set forth in paragraphs 51 and 52, the Loss Loans to the GSA Borrowing

Relationship totaled at least $12.6 million, and the Bank lost at least $7.6 million on those loans.

The GSA Loss Loans consist of two ILA Loans to Borrower CD (Loan 086630); five ILA Loans

to Borrower SAI under two loan numbers (Loans 136856 and 143995); three ILA Loans to

Borrower GD under a single loan number (Loan 148978); one Director Loan to SAI (Loan

136856); and one Director Loan to GD (Loan 148978).

       160.    As detailed below, Ryan committed gross negligence and breached his fiduciary

duties in approving the GSA ILA Loans by, among other things, giving a Bank insider who was a

historically troubled borrower a blank check to gamble on a series of speculative real estate

projects without requiring him to provide basic information about those projects and their expected

costs despite overwhelming evidence that the borrower was not creditworthy. The BLC

Defendants committed gross negligence in approving the GSA Director Loans by, among other

things, ignoring conspicuously implausible purported sources of repayment for their insider

colleague’s projects, the obvious inadequacy of the proffered collateral, and numerous other Loan

Policy violations, then backdating a loan to make it appear that the borrower had cleared more than

$1 million in overdrafts before the previous month’s end.

       161.    Ryan approved the two CD ILA Loans—an initial $1 million extension followed a

month later by renewal of that loan with a $1 million credit increase—on March 31 and April 29,

2015, respectively. The purpose of these loans was to finance renovations to a commercial property

in the French Quarter of New Orleans.



FILED UNDER SEAL                                46
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 47 of 60




       162.    The main purported justification for the first CD ILA Loan was that CD’s renter

would pay incremental rent of $87,325 per year if CD made the renovations. But this stated primary

source of repayment offered no prospect of repaying the loan principal. The loan was to mature

364 days after origination. By the time renovations were made and rental income achieved, the

incremental rental income could be hoped at most to cover CD’s incremental interest obligation,

leaving little or nothing to repay the $1 million principal. The $1 million would have to be financed

through a longer-term loan, but the loan file provided not a shred of information about how or

when that might happen.

       163.    Meanwhile, the only collateral referenced was GSA’s membership interest in the

CD limited liability company, an extremely illiquid asset whose value was unstated, resulting in

no LTV ratio being provided. The credit memorandum acknowledged that CD was a “shell

company” with no financial statements. Nor did the loan file contain any detail about what the

property renovations would be, how long they would take, or how much they would cost (much

less an explanation of how it just so happened that the expected costs matched the $1 million limit

of Ryan’s incremental lending authority). Although CD had obtained the property years before,

the property generated no revenue before 2014. The credit memorandum claimed that the property

should produce EBITDA in 2014, but the file contained no financial statements confirming such

financial performance even though Ryan approved the loan a full three months into 2015. Indeed,

the file said that 2014 operating results were not yet completed, a highly concerning failure for a

small entity seeking a $1 million loan that far into the year. Nor can any serious contention be

made that the CD loans were emergencies, as required for Ryan to employ his ILA powers.

       164.    As reckless as the first CD ILA Loan was, the second was even worse. Without

requiring any equity infusion from the borrower, Ryan funneled another $1 million to CD for more



FILED UNDER SEAL                                 47
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 48 of 60




renovations. Ryan provided no justification, however, for why the renovation costs had doubled

in a month. Nor did Ryan provide any updated financial analysis showing how CD could repay an

extra $1 million. To the contrary, he papered the file for what now would be a $2 million debt by

essentially recycling his credit memorandum from the previous month, without changing the debt

service assumptions he had used when the debt was to be only $1 million. In addition, the

deficiencies outlined above with respect to the first CD loan continued to apply to the second. For

example, though the second approval came almost four months into 2015, the file continued to

state that 2014 operating results were not yet completed. In the end, the Bank lost nearly all the $2

million it loaned to CD.

       165.    The initial Loss Loan to Borrower SAI was a $2.18 million Director Loan, which

the BLC Defendants approved on July 29, 2015 (Loan 136856). Its purported purpose was to

purchase a New Orleans residence for renovation and lease. The Bank already was owed more

than $30 million by GSA, a problematic borrower, but bank insider, whose creditworthiness

obviously was deteriorating and who already was the subject of a CAAP. Yet each of the BLC

Defendants approved the loan despite, among other serious departures from the Loan Policy and

sound lending practices: Ryan’s credit request providing no information as to the scope, timing,

cost, or financing of the pivotal renovations; multiple Loan Policy violations involving excessive

LTV and Loan-to-Cost (“LTC”) ratios (including as the result of a missing appraisal), meaning

that the Bank had inadequate collateral to secure its loan, a problem that would become worse

when further lending was needed to finance the renovations; an absence of information regarding

projected rental income or any other sources of debt service coverage; violation of the Bank’s Loan

Policy regarding the concentration of debt with a particular borrower; and the obvious




FILED UNDER SEAL                                 48
     Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 49 of 60




implausibility of the purported primary source of loan repayment, namely unspecified rental

income when the loan was to mature in six months and no refinancing prospects were identified.

       166.   Following the Director Loan to SAI, Ryan indefensibly approved eight ILA Loans

which increased GSA’s borrowing by more than $7.2 million. The first of these loans, which Ryan

approved on September 30, 2015, was a $1 million ILA Loan, also to SAI, as an increase to Loan

136856. Ryan then approved four more $1 million ILA Loans to SAI under a different loan number

(Loan 143995), from December 7, 2015 through May 31, 2016. On January 29, 2016, April 26,

2016, and September 30, 2016, Ryan approved three ILA Loans to Borrower GD under Loan

148978.

       167.   The first five of these eight extensions (one under Loan 136856 to SAI, three under

Loan 143995 to SAI, and one under Loan 148978 to GD) purported to be for renovations to the

property that was the subject of the initial Director Loan to SAI. Ryan recycled his credit memo

from the Director Loan and substituted “improvements” for purchase of the property as the loan

purpose without identifying, much less providing details of, the purported improvements being

funded or otherwise addressing GSA’s insatiable need for further funding for this residence. As

Ryan regularly increased the size of GSA’s blank check, LTV—in violation of the Loan Policy

even from the initial Director Loan—got even worse. Meanwhile, GSA’s credit score fell into

subprime territory, with Ryan not even identifying it in his credit memos, instead saying merely

that it was below 650. Eventually, a credit report in the file showed that GSA’s credit score had

fallen to a shocking 537 with dozens of lengthy delinquencies. Yet Ryan still provided no

projections of rental income or costs to operate the property once renovated. No audited or

reviewed financial statements were obtained. No global cash flow analysis for GSA was

performed.



FILED UNDER SEAL                               49
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 50 of 60




        168.    One of Ryan’s ILA Loans relating to the residence, which he approved on January

29, 2016, was a $715,000 increase in Loan 148978 to GD based on the purported justification that

another GSA-controlled property was under contract to be sold and the proceeds would be used to

pay back the loan quickly. When the property was sold, however, GSA did not use the proceeds

to pay the loan, that collateral now was gone, and Ryan continued to approve more risky GSA

Loss Loan credit extensions from which harm to the Bank was highly probable.

        169.    While GSA continued to demand, and Ryan continued to approve, more money for

the residence project, Ryan gave GSA another blank check for another speculative project. On

April 26, 2016, Ryan approved a $1 million ILA increase to Loan 148978, the stated purpose of

which was for GD to buy and renovate an old church to lease to the New Orleans Opera.

        170.    The borrower had negative equity in the church project because GSA used a

significant amount of the proceeds to pay bank overdrafts and make other loan payments rather

than for the renovation itself, and a significant part of the purported collateral did not exist because

it had been sold without the sale proceeds being used to repay loans as promised. Furthermore, no

details were provided as to a lease with the Opera, nor was information provided as to the necessary

renovations.

        171.    Despite the foregoing and other deficiencies, on February 2, 2017, the BLC

Defendants approved a $3,511,000 renewal to Loan 148978, which included a $1,296,000 increase

with an “effective date” of January 31, 2017. The purpose of this loan was to increase a loan that

already exceeded $2 million to cover the borrower’s account overdrafts and pay closing costs

associated with the church renovation project. Ryan’s approval of or acquiescence in

approximately $1.2 million of GSA overdrafts was yet another example of his gross negligence

and breach of fiduciary duty, as it was, in effect, another credit extension to a borrower who, for



FILED UNDER SEAL                                  50
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 51 of 60




the reasons above, was obviously uncreditworthy—an extension made without complying with the

Loan Policy’s provisions for loans of this magnitude. By formalizing the seven-figure overdrafts

of a plainly distressed borrower into a one-year interest-only loan, the BLC Defendants then

increased the Bank’s risk by depriving the Bank of the more immediate remedies available to it

with respect to overdrafts. On information and belief, the loan was backdated to justify

retroactively the clearing on the books by January’s month-end of the $1.2 million in GSA account

overdrafts.

       172.    In sum, Ryan and the other BLC Defendants permitted GSA, their insider

colleague, to gamble on multiple risky and speculative real estate projects despite overwhelming

facts that would have caused any prudent banker to say enough is enough.

       173.    The BLC Defendants irresponsibly approved the GSA Loss Loans despite the

obvious and grave risk that those loans posed to First NBC. Their approvals of the loans under

these circumstances fell far below the standard of care of any reasonably careful bank director or

officer and exhibited, at a minimum, reckless disregard of the Bank’s best interests.

       174.    In total, the BLC Defendants’ grossly negligent approvals of the Loss Loans to the

GSA Borrowing Relationship directly and proximately caused the Bank to sustain losses of more

than $7.6 million.

D.     Timeliness

       175.    All the claims in this complaint are timely made. The FDIC became Receiver for

First NBC on April 28, 2017. Pursuant to 12 U.S.C. § 1821(d)(14), the limitation period for the

FDIC-R’s claims under 12 U.S.C. § 1821(k) runs three years from that date. Any prescription and

peremption periods that otherwise would apply to state-law claims that had not expired as of April

28, 2017 are extended to no less than three years from that date.



FILED UNDER SEAL                                51
        Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 52 of 60




         176.    The Bank did not sustain injury on any Loss Loan before April 28, 2016.

         177.    No Loss Loan was approved before April 28, 2014.

         178.    Consequently, no prescriptive or peremptive period under Louisiana law could

have expired by April 28, 2017.

E.       The Bank’s D&O Insurance Coverage

         179.    As described below, each of the Insurer Defendants issued one or more insurance

policies to the Bank’s parent company, FNBC. These policies include the Bank and its directors

and officers, including the BLC Defendants, as insureds.

         180.    Zurich issued a primary insurance policy with Policy Number DPO 9311202-04

and policy limits of $15,000,000 for the policy period June 9, 2015 to December 31, 2016 (the

“2016 Primary Policy”). This policy includes $1 million in excess coverage in certain

circumstances.

         181.    INIC issued a first-layer excess insurance policy with Policy Number 01-415-73-

85 and policy limits of $15,000,000 for the policy period June 9, 2015 to December 31, 2016.

         182.    Continental issued a second-layer excess insurance policy with Policy Number

596594782 and policy limits of $10,000,000 for the policy period June 9, 2015 to December 31,

2016.

         183.    Great American issued a third-layer excess insurance policy with Policy Number

DFX1491031 and policy limits of 10,000,000 for the policy period June 9, 2015 to December 31,

2016.

         184.    Federal Insurance issued a fourth-layer excess insurance policy with a Policy

Number of 8243-6165 and policy limits of $10,000,000 for the policy period June 9, 2015 to

December 31, 2016.



FILED UNDER SEAL                                52
        Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 53 of 60




         185.   The INIC, Continental, Great American, and Federal Insurance excess policies

described in paragraphs 181-184 are collectively referred to as the “2016 Excess Policies.” The

2016 Primary Policy and 2016 Excess Policies are collectively referred to as the “2016 Policies.”

         186.   U.S. Specialty issued a primary insurance policy with Policy Number 14-MGU-16-

A39690 and policy limits of $10,000,000 for the policy period December 31, 2016 to December

31, 2017 (the “2017 Primary Policy”).

         187.   XL issued a first-layer excess insurance policy with Policy Number ELU148261-

16 and policy limits of $10,000,000 for the policy period December 31, 2016 to December 31,

2017.

         188.   INIC issued a second-layer excess insurance policy with Policy Number 06-473-

18-11 and policy limits of $10,000,000 for the policy period December 31, 2016 to December 31,

2017.

         189.   Freedom issued a third-layer excess insurance policy with Policy Number

XMF1602583 and policy limits of $10,000,000 for the policy period December 31, 2016 to

December 31, 2017.

         190.   Markel issued a fourth-layer excess insurance policy with Policy Number

MKLM6EL0002907 and policy limits of $5,000,000 for the policy period December 31, 2016 to

December 31, 2017.

         191.   Berkshire Hathaway issued a fifth-layer excess insurance policy with Policy

Number 47-EPF-303265-01 and policy limits of $5,000,000 for the policy period December 31,

2016 to December 31, 2017.

         192.   INIC issued a sixth-layer excess insurance policy with Policy Number 06-481-51-

29 and policy limits of $5,000,000 for the policy period December 31, 2016 to December 31, 2017.



FILED UNDER SEAL                               53
     Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 54 of 60




       193.     U.S. Specialty issued a seventh-layer excess insurance policy with Policy Number

14-MGU-16-A39694 and policy limits of $5,000,000 for the policy period December 31, 2016 to

December 31, 2017.

       194.     The XL, INIC, Freedom, Markel, Berkshire Hathaway, and U.S. Specialty policies

described in paragraphs 187-193 are collectively referred to as the “2017 Excess Policies.” The

2017 Primary Policy and 2017 Excess Policies are collectively referred to as the “2017 Policies.”

       195.     The 2016 Policies and 2017 Policies form two “towers” of insurance as shown in

the following graph:



                    FIRST NBC BANK INSURANCE TOWERS

                                             U.S. Specialty- $5
                     Federal - $10
                                                 INIC- $5
                                               Berkshire- $5
                  Great American-$10
                                                Markel- $5

                   Continental- $10            Freedom-$10


                                                 INIC- $10
                       INIC-$15

                                                  XL- $10

                   Primary Policy-          Primary Policy -U.S.
                     Zurich- $15               Specialty- $10

              2016 TOWER- $60 MILLION   2017 TOWER- $60 MILLION




       196.     The 2016 and 2017 Policies provide insurance coverage for the FDIC-R’s losses on

the Loss Loans by stating, among other things, that the Insurer Defendants will pay on behalf of

the BLC Defendants losses on account of claims for wrongful acts committed by the BLC

Defendants.




FILED UNDER SEAL                                 54
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 55 of 60




       197.    As detailed throughout this complaint and summarized below, the FDIC-R’s claims

seek recovery for losses the Bank incurred as a result of the BLC Defendants’ wrongful acts.

                                     CLAIMS FOR RELIEF

                                             COUNT I

                  Gross Negligence by Ryan with Respect to the ILA Loans

       198.    The FDIC-R repeats and makes a part hereof each and every allegation contained

in paragraphs 1 through 197 of this complaint.

       199.    Title 12 U.S.C. § 1821(k), enacted as part of the Financial Institutions Reform,

Recovery and Enforcement Act of 1989 (“FIRREA”), makes officers and directors of FDIC-

insured financial institutions personally liable to the FDIC-R for their gross negligence as that term

is defined and determined by applicable state law.

       200.    As defined and determined by Louisiana law, gross negligence means a reckless

disregard of, or a carelessness amounting to indifference to the best interests of, the Bank and

involves a substantial deviation below the standard of care expected to be maintained by a

reasonably careful person under like circumstances.

       201.    With respect to the ILA Loans, Ryan’s particular violations of, and departures from,

sound lending practices differed among the borrowers as set forth for Borrower RM in paragraphs

54-70 above, the GG Borrowing Relationship in paragraphs 71-86 above, Borrower KC in

paragraphs 87-94 above, Borrower TH in paragraphs 95-120 above, Borrower AP in paragraphs

121-128 above, Borrower PCC in paragraphs 129-138 above, the MP Borrowing Relationship in

paragraphs 139-158 above, and the GSA Borrowing Relationship in paragraphs 159-174 above.

Nonetheless, with respect to each borrower or borrowing relationship, by approving and otherwise

committing the acts and omissions detailed above, Ryan disregarded and violated the Loan Policy,



FILED UNDER SEAL                                 55
     Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 56 of 60




banking regulations, underwriting guidelines, and prudent and sound lending practices, thereby

acted with reckless disregard of, and/or a carelessness amounting to indifference to, the best

interests of the Bank, and deviated substantially below the standard of care expected to be

maintained by a reasonably careful person under like circumstances.

       202.   Consequently, Ryan committed gross negligence as that term is defined and

determined by Louisiana law.

       203.   As a direct and proximate result of Ryan’s gross negligence with respect to the ILA

Loans, the Bank suffered damage and sustained losses exceeding $113 million or such other

amount as may be proved at trial.

                                          COUNT II

       Gross Negligence by the BLC Defendants with Respect to the Director Loans

       204.   The FDIC-R repeats and makes a part hereof each and every allegation contained

in paragraphs 1 through 203 of this complaint.

       205.   With respect to the Director Loans, the BLC Defendants’ particular violations of,

and departures from, sound lending practices differed among the borrowers as set forth for

Borrower RM in paragraphs 54-70 above, the GG Borrowing Relationship in paragraphs 71-86

above, Borrower TH in paragraphs 95-120 above, the MP Borrowing Relationship in paragraphs

139-158 above, and the GSA Borrowing Relationship in paragraphs 159-174 above. Nonetheless,

with respect to each borrower or borrowing relationship, by approving and otherwise committing

the acts and omissions detailed above, Ryan and the Non-Officer BLC Defendants disregarded

and violated the Loan Policy, banking regulations, underwriting guidelines, and prudent and sound

lending practices, thereby acted with reckless disregard of, and/or a carelessness amounting to




FILED UNDER SEAL                                 56
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 57 of 60




indifference to, the best interests of the Bank, and deviated substantially below the standard of care

expected to be maintained by a reasonably careful person under like circumstances.

       206.    Consequently, the BLC Defendants committed gross negligence as that term is

defined and determined by Louisiana law.

       207.    As a direct and proximate result of the BLC Defendants’ gross negligence with

respect to the Director Loans, the Bank suffered damage and sustained losses exceeding $51

million or such other amount as may be proved at trial.

                                            COUNT III

                                Breach of Fiduciary Duty by Ryan

       208.    The FDIC-R repeats and makes a part hereof each and every allegation contained

in paragraphs 1 through 207 of this complaint.

       209.    Title 12 U.S.C. § 1821(k) also makes officers and directors of FDIC-insured

financial institutions personally liable for monetary damages to the FDIC-R for conduct that

demonstrates a greater disregard of a duty of care than gross negligence, as those terms are defined

and determined under state law.

       210.    Under Louisiana law, the officers and directors of Louisiana banks stand in a

fiduciary relation to their bank.

       211.    As Board Chairman and President and CEO of the Bank, Ryan served in a fiduciary

capacity and owed the Bank fiduciary duties to exercise loyalty and good faith in the management,

supervision, and conduct of the Bank’s business and financial affairs.

       212.    In his capacity as President and CEO, Ryan dealt directly with the borrowers

identified in paragraphs 54-174 above and either authored or approved many of the deficient credit

memoranda. In substance, Ryan was the Bank’s relationship manager who oversaw the



FILED UNDER SEAL                                 57
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 58 of 60




relationship with the borrowers. Yet Ryan chose to turn a blind eye to the obvious and egregious

deficiencies in the Loss Loans that existed with respect to the different borrowers.

       213.    At the same time, Ryan had a substantial personal financial interest in the form of

large annual performance-based cash incentives and equity incentives through FNBC stock and

stock options that were tied to the reported financial performance of FNBC and thus depended on

his driving the Bank’s performance metrics. Ryan even pledged his shares in FNBC as security for

loans that financed his personal business ventures.

       214.    Though Ryan’s particular violations and departures from sound lending practices

with respect to the ILA Loans differed among the borrowers (as set forth for Borrower RM in

paragraphs 54-70 above, the GG Borrowing Relationship in paragraphs 71-86 above, Borrower

KC in paragraphs 87-94 above, Borrower TH in paragraphs 95-120 above, Borrower AP in

paragraphs 121-128 above, Borrower PCC in paragraphs 129-138 above, the MP Borrowing

Relationship in paragraphs 139-158 above, and the GSA Borrowing Relationship in paragraphs

159-174 above), in each case, Ryan made a choice to advance his perceived personal interests at

the expense of the Bank.

       215.    As such, when he approved and otherwise committed the acts and omissions

detailed above with respect to the ILA Loans, Ryan consciously disregarded the Bank’s best

interests and his duties to the Bank, acted in bad faith to benefit himself rather than advance the

best interests of the Bank, and accordingly breached his fiduciary duty of good faith and

intentionally violated his fiduciary duty of loyalty to the Bank.

       216.    As a direct and proximate cause of Ryan’s breaches of fiduciary duty with respect

to the ILA Loans, the Bank suffered damage and sustained losses exceeding $113 million, or such

other amount as may be proved at trial.



FILED UNDER SEAL                                 58
      Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 59 of 60




                                            COUNT IV

                      (Direct Action Claim Against the Insurer Defendants)

       217.      The FDIC-R repeats and makes a part hereof each and every allegation contained

in paragraphs 1 through 216 of this complaint.

       218.      As alleged in paragraphs 17-26 and 179-197, the Insurer Defendants issued liability

insurance policies that cover losses arising from the wrongful acts at issue by the BLC Defendants.

       219.      All conditions precedent for such coverage to apply have been satisfied.

       220.      Under the 2016 Policies and 2017 Policies, the Insurer Defendants must pay all loss

that the BLC Defendants are legally obligated to pay to the FDIC-R due to the BLC Defendants’

wrongful acts.

       221.      Accordingly, pursuant to Louisiana Revised Statutes § 22:1269, the Insurer

Defendants are solidarily liable with their insureds to the FDIC-R, under their respective policies

and to the limits of those policies, for the damages the BLC Defendants caused to the Bank as

described in this complaint.

                                         JURY DEMAND

       Pursuant to Rule 38 of the Federal Rules of Civil Procedure, the FDIC-R requests a trial

by jury on all claims pleaded in this complaint.



       WHEREFORE, the FDIC-R prays that that its complaint be deemed good and sufficient

and that, after due proceedings are had hereon, judgment be entered in its favor against the BLC

Defendants jointly, severally, and in solido for damages, pre- and post-judgment interest, costs of

suit, and such other general, legal, equitable, and further relief as this Court deems just and proper

in the circumstances.



FILED UNDER SEAL                                   59
  Case 2:20-cv-01253-JTM-MBN Document 1 Filed 04/21/20 Page 60 of 60




                                Respectfully submitted,

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FILED UNDER SEAL                  60
